






	No. 4--97--0810



_________________________________________________________________



	IN THE



	APPELLATE COURT OF ILLINOIS



	THIRD DISTRICT



	A.D., 1998



MELISSA CARLSTEN,	 			)	Appeal from the Circuit Court

	)	of the 10th Judicial Circuit,

Plaintiff-Appellant,		)	Peoria County, Illinois

	)

v.						)	No. 97--CF--209

	)	

JOHN ROBERTSON, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)	Honorable

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)	Glenn Collier

Defendant-Appellee.			)	Judge, Presiding

_________________________________________________________________



PRESIDING JUSTICE McCUSKEY delivered the Opinion of the Court:

_________________________________________________________________



The plaintiff, Melissa Carlsten, appeals from the trial court's order granting the motion of the respondent, John 

Robert­son, to dismiss her child custody petition for lack of juris­dic­tion. &nbsp;After a careful review of the record, we find that Illi­nois does not have juris­dic­tion over this matter and there­fore affirm.

FACTS

The parties were di­vorced in Virginia on July&nbsp;10, 1990. &nbsp;The Virginia judg­ment of disso­lu­tion awarded physical custody of the two minor chil­dren, Spencer and Jessica, to Melissa. &nbsp;From 1990 until 1995, the children lived in Illinois with Melissa. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Howev­er, in September&nbsp;1995, Jessica moved back to Virginia to live with John. &nbsp;At that time, the parties agreed to amend the judg­ment of dissolu­tion and give John custody of Jessica. &nbsp;In June&nbsp;1996, Spencer also moved back to Virginia to live with John. &nbsp;On August&nbsp;16, 1996, the State of Virgin­ia awarded legal custody of Spencer to John. &nbsp;

The children traveled to Illinois on June&nbsp;22, 1997. &nbsp;Accor­ding to Melissa, the children moved back to Illinois on this date. &nbsp;However, according to John, the children were only visit­ing their mother. &nbsp;

On Ju­ly&nbsp;21, 1997, Melissa filed a peti­tion for emer­gen­cy relief in Illinois requesting that the circuit court assume juris­diction over this matter and grant her tempo­rary and perma­nent custody of the children. &nbsp;In her petition, she claimed that Illinois should assert juris­dic­tion because: &nbsp;(1) she never received notice of the Virginia court order award­ing John custody of Spencer; (2) sub­stan­tial evi­dence con­cerning the children's present and future care, protec­tion, training and personal relationships was in Illinois; (3) no other state had juris­dic­tion over the chil­dren; and (4) John recent­ly relo­cated to North Caroli­na, and the children had no contacts with that state. 

On July&nbsp;31, 1997, John filed a special and limited appear­ance and requested that the court dismiss Melissa's emergency petition because Illinois lacked jurisdiction. &nbsp;In his motion, John alleged that Virginia was the proper forum to hear any custody disputes. &nbsp;In support of his claim, he alleged: &nbsp;(1) several court orders regarding the care, custody, and control of the children had been entered in Virginia; (2) following the origi­nal judgment of dissolution, he was awarded custody of the children by a Virginia court; (3) Jessica resided outside of Illinois since Septem­ber&nbsp;1995; and (4) Spencer resided outside of Illinois since June&nbsp;1996. &nbsp;

In a written order, the trial court dismissed Melissa's petition for lack of jurisdiction. &nbsp;

ANALYSIS

On appeal, Melissa argues that the trial court abused its discretion in granting John's motion to dismiss. &nbsp;Specifically, she contends that Illinois should assert jurisdiction over this matter because: &nbsp;(1) it is in the best interests of the children; and (2) no other state has jurisdiction.

Section 4(a) of the Uniform Child Custody Jurisdiction Act (Act) sets forth the circumstances under which Illinois courts have jurisdiction to make a child custody determination. &nbsp;750 ILCS 35/4 (West 1996). &nbsp;These circumstances are as follows: &nbsp;

(1) Illinois is the home state of the children; (2) it is in the children's best interests to assert jurisdiction because the children and at least one parent have a significant connection with the state, and there is substantial evidence in Illinois concerning the children's present or future care, protection, training and personal relationships; (3) an emergency arises while the child is present in Illinois; or (4) no other state has jurisdiction, or another state has declined to exercise juris­diction on the basis that Illinois is a more appropriate forum. &nbsp;750 ILCS 35/4(a) (West 1996).

Here, in the instant case, Melissa argues that Illinois has jurisdiction under the "best interests" prong of the Act. &nbsp;However, a careful review of the record indicates that the trial court could not have asserted jurisdiction on this basis. &nbsp;Although the children have connections with both Illinois and Virginia, they have more significant connections in Virginia. &nbsp;All prior court pro­ceed­ings in this matter occurred in Virgin­ia. &nbsp;Signif­icant­ly, the parties' judgment of dissolution was recently modi­fied in Virginia, awarding custody of both children to John. &nbsp;Illinois courts are required to give that modification order full faith and credit. &nbsp;750 ILCS 35/14 (West 1996). &nbsp;There­fore, the best inter­ests of the children indicate that Virgin­ia is the proper forum to contest the modifi­ca­tion of custody order.

Next, Melissa argues that Illinois should assert juris­diction under the fourth prong of the Act. &nbsp;Specif­ically, she argues that since John moved to North Caroli­na, no other state has jurisdiction over this matter. &nbsp;Again, we dis­agree. &nbsp;There is no indication in the record that Virgin­ia has declined to assert jurisdiction. &nbsp;As noted previously, a Virginia court modi­fied the custody order as recently as 1996. &nbsp;Moreover, the fact that John may have moved from Virginia does not affect its jurisdic­tion over this matter. &nbsp;A court, once having obtained jurisdic­tion over a child, retains that jurisdic­tion unless it concedes jurisdiction to another state. &nbsp;See 
Richardson v. Richardson
, 255 Ill. App. 3d 1099, 1105, 625 N.E.2d 1122, 1126 (1993). &nbsp;

For the reasons stated, we find that the trial court did not abuse its discretion in granting John's motion to dismiss for lack of jurisdiction. &nbsp;Accordingly, the judgment of the circuit court of Peoria County is affirmed.

Affirmed.

SLATER and BRESLIN, JJ., concurring.


